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                                  IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF COLUMBIA

                                             Holding a Criminal Term
                                        Grand Jury Sworn in on May 3, 2018

UNITED STATES OF A]\,IERICA

                                                            CRIMINAL NO.

\\.II,I-I.\\I   ,I. P}I   I   \ I7,\'
                                                            VIOLATIONS:
                   Defendant.

                                                            18 U.S.C. S 1361
                                                            (Injuring Property or Committing Any
                                                            Depredation Against Property of the
                                                            United States)

                                                            18 u.s.c. $ 17s2(a)(a) & @)(lXA)
                                                            (Engaging in Physical Violence Against
                                                            Property in Restricted Buildings Grounds
                                                            While Using a Deadly and Dangerous
                                                            Weapon)




                                                    INDICTMENT

        The Grand Jury charges that:

                                                    COUNT ONE

        On or about October 22, 2018, within the District of Columbia, the                 defendaat,

WTLLIAM PHINIZY, did willfully injure and commit any depredation               against property of the

united States, that is, a security barrier located in the white House complex, with the damage to

such property exceeding the sum of           $I   ,000.
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(Injuring Property or Committing Any Depredation Against Property ofthe United States,

in violation of Title 18, United States Code, Section 1361)

                                         COUNTTWO

       On or about October 22, 2018, within the District of Columbia, the            defendant,

WILLIAM PHINIZY, did knowingly engage in any act of physical violence against        any person

and property in any restricted building and grounds, namely, the White House complex, and,

during and in relation to the offense, did use and carry a deadly and dangerous weapon, that is,

an automobile.

(Engaging in Physical Violence Against Property in Restricted Buildings and Grounds, in
violation of Title 18, United States Code, Section 1752(a)(4) and (bXlXA))


                                                     A TRUE BILL




                                                     FOREPERSON



         KW- /s*(
   omey of the United States in
and for the District of Columbia
